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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


EXPERIAN MARKETING SOLUTIONS              )
INC., a Delaware corporation,             )   Case No. 1:15-CV-476
                                          )
                   Plaintiff,             )   Hon. Robert Holmes Bell
                                          )
v                                         )
                                          )
JEREMY LEHMAN, an individual, THORIUM     )
DATA SCIENCE, LLC, a Michigan limited     )
Liability company,                        )
                                          )
                  Defendants,             )



                            BRIEF IN SUPPORT OF
                       DEFENDANTS' MOTION TO DISMISS

                         [ORAL ARGUMENT REQUESTED]

______________________________________________________________________________
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I.      INTRODUCTION

        This litigation is a frivolous effort by Plaintiff to harass one of its successful former

executives, Jeremy Lehman ("Lehman"), and to manufacture a pretext to withhold significant

severance payments and stock options owed to Lehman. Despite attempting to assert numerous

claims against Lehman and Thorium Data Science, LLC ("Thorium"), Plaintiff has failed to

articulate a single viable cause of action. In an effort to mask the factual and legal deficiencies

in its various claims, Plaintiff has filed a thirteen (13) count Complaint containing three hundred

forty-six (346) paragraphs and seventy-one (71) exhibits, hoping that the Court will sift through

Plaintiff's myriad allegations and conclude that quantity is the equivalent of quality. It is not,

and Plaintiff's cumbersome and meandering Complaint falls far short of the standard necessary to

open the doors to Federal court. Plaintiff's Complaint is, instead, the quintessential "shotgun" or

"kitchen sink" pleading. As numerous courts have recognized, these types of pleadings are

unacceptable, lead to undue burdens on the courts and litigants, and, by attempting to say

everything, actually say nothing at all. Because Plaintiff has not satisfied even its basic pleading

obligations under the Federal Rules, the Complaint should be dismissed in its entirety.

        Even if Plaintiff had filed a complaint that was "short and plain," as required, dismissal

would be appropriate. Plaintiff's claims under the Computer Fraud and Abuse Act ("CFAA")

fail, because (1) Plaintiff has failed to allege a "loss" as required by the statute, (2) Lehman was

authorized to access his work computer in connection with his job duties, and (3) Plaintiff does

not allege, and cannot establish, that Defendants' alleged conduct deprived Plaintiff of any

particular information or that the allegedly deleted information is not available to Plaintiff

through other means.




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       Plaintiff's claim for misappropriation of trade secrets under the Michigan Uniform Trade

Secret Act ("MUTSA"), M.C.L. § 445.1901, et seq., is likewise deficient. Plaintiff devotes just

nine (9) conclusory paragraphs to its misappropriation claim, merely regurgitating the definition

of a "trade secret" under the MUTSA and claiming that its unidentified information meets this

definition. Similarly, while Plaintiff presents the bare allegation that Defendants are somehow

using these unidentified "trade secrets," Plaintiff must present more than its own conclusions to

state a plausible claim for relief under MUTSA.

       Plaintiff also attempts to assert nine separate breach of contract claims against Lehman

arising out of his Employment Agreement and the parties' Settlement Agreement, none of which

is valid. Despite nearly a dozen counts and hundreds of allegations, Plaintiff does not allege that

it suffered any identifiable damages. Moreover, Plaintiff's claims rely on various restrictive

covenants contained in the parties' agreements, but Plaintiff's own allegations render those

restrictive covenants unenforceable.       Finally, Plaintiff's claims arising under Lehman's

Employment Agreement fail, because that agreement was expressly superseded.

       Plaintiff's breach of fiduciary duty claim is also fatally flawed. To the extent that claim is

based on the alleged misappropriation of trade secrets, it is pre-empted by MUTSA. To the

extent the claim is based on Lehman's purported preparations to form his own entity and

allegedly compete with Experian, the claim fails because mere preparation to compete is

insufficient to sustain a claim for breach of fiduciary duty. Even if such allegations were

sufficient, however, Plaintiff fails to identify any damages incurred as a result of the alleged

breach, and damages are a necessary element of a claim for breach of fiduciary duty.

       Finally, Plaintiff's tortious interference claim is baseless. Plaintiff fails to allege any

breach of any particular agreement, and it certainly does not allege such a breach caused by



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Defendants. Further, to the extent that claim is based on Lehman's alleged solicitation of certain

confidential information from Plaintiff's employees, such a claim is pre-empted by MUTSA.

         For each of the foregoing reasons, the Complaint should be dismissed in its entirety.

Plaintiff has simply thrown every conceivable allegation and legal theory against the wall in the

hope that the Court might let something stick. Neither the Court nor Defendants should be

required to sift through Plaintiff's convoluted and onerous Complaint to determine whether

Plaintiff can conjure up a valid cause of action against Defendants.        Plaintiff cannot, and

Defendants respectfully request an order dismissing the Complaint.

II.      BACKGROUND AND PERTINENT ALLEGATIONS1

         Plaintiff is in the business of providing data management, processing, and analytics.

Complaint [Dkt. #1] at ¶ 21. On July 11, 2011, Plaintiff hired Lehman as its Executive Vice

President for Global Product Development and Delivery. Id. at 30. During his employment,

Lehman's primary responsibilities included the delivery of products and client services to

Plaintiff's customers, identifying and procuring new business, and overseeing various divisions

within Plaintiff's corporate structure. Id. at ¶¶ 30-35. In connection with his employment,

Lehman executed an Employment Agreement, which contained various restrictive covenants and

provided that it would be governed by the laws of the State of Illinois. See Employment

Agreement [Dkt. #1-1] at ¶ 3. Thereafter, Lehman was involved in a material way in a number

of Plaintiff's business initiatives. See Complaint [Dkt. #1] at ¶¶ 34-38.




         1
          Due to the burdensome nature of Plaintiff's Complaint, a detailed recitation of the
material allegations underlying Plaintiff's purported claims is neither necessary nor possible.
However, for the sake of background, and for purposes of this motion only, the following
allegations are presumed to be true, as required in connection with a motion to dismiss under
Fed. R. Civ. P. 12(b)(6).

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        On March 12, 2014, Plaintiff notified Lehman that his position would be eliminated as

part of a reduction in force, effective July 1, 2014. See id. at ¶ 49. Plaintiff's termination was not

based on performance issues. See id. In fact, in connection with his termination, Lehman was

provided a severance package pursuant to a Settlement Agreement between Lehman and

Plaintiff. See id. at ¶¶ 50-51. Lehman's last day of employment with Plaintiff was June 30,

2014. Id. at ¶ 57.

        Plaintiff provided Lehman with a computer in connection with his job duties. See id. at

¶¶ 10, 58. Plaintiff alleges that access to its confidential and proprietary information and trade

secrets was strictly limited to those who "have a 'need to know' the information as part of their

job duties." Id. at ¶ 86. Lehman was one of these employees with a "need to know"; he

allegedly was provided access to Plaintiff's "highly confidential and proprietary information" and

trade secrets. See id. at ¶¶ 3, 86.

        Lehman is a resident of Grand Rapids, Michigan, while Plaintiff has offices in Chicago,

Illinois and New York, New York. See, e.g., id. at ¶¶ 21-22. At the time his position was

eliminated, Plaintiff was in possession of the laptop computer provided to him by Plaintiff in

connection with Lehman's job duties. See id. at ¶¶ 58-62. Lehman ultimately returned his work-

issued computer to Plaintiff, after allegedly deleting certain unidentified information at an

unidentified point in time. Id. at ¶ 63. Plaintiff was aware of this alleged conduct as early as

January of 2015. See id. at ¶ 66. In fact, Plaintiff sent a cease and desist letter to Lehman,

demanding a return of the severance payment made to Lehman. Id. at ¶ 66.

        Lehman cooperated with Plaintiff and voluntarily provided Plaintiff with access to his

personal electronic devices and data. Id. at ¶ 67. This inspection occurred in February and




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March of 2015. Id. at ¶ 67. As a result of that inspection, Plaintiff allegedly came to believe that

Lehman had engaged in "substantial additional wrongdoing[.]" Id. at ¶ 69.

          While Lehman was willing to cooperate with Plaintiff in connection with Plaintiff's

personal computers, those computers contained extensive personal information and family

photos.       Complaint [Dkt. #1-67], Ex. 67.   Importantly, Lehman's personal computer also

contained confidential attorney-client communications. Id. Lehman expressed his concerns

about protecting privileged information to Plaintiff's in-house counsel, Abril Turner. See id. To

mitigate the risk of inadvertent disclosures, Plaintiff's counsel and defense counsel discussed a

proposed inspection protocol using search terms and a privilege review. See Complaint [Dkt. #1-

71], Ex. 71. Despite this ongoing discussion, upon receipt of Lehman's devices, without an

agreement on the inspection protocol, Plaintiff's counsel unilaterally reviewed all of Lehman's

devices and, without Lehman's consent, took possession of privileged information and work

product. See, e.g., Complaint [Dkt. # 1-46], Ex. 46. Worse yet, Plaintiff subsequently used

Lehman's privileged information, obtained without Lehman's knowledge or consent, as

purported support for its Complaint. See id.2

          On May 6, 2015, nearly five months after Plaintiff claims it first became aware of

Lehman's alleged misconduct, Plaintiff initiated this litigation. See generally Complaint [Dkt.

#1].   Generally speaking, Plaintiff claims that Lehman accessed his work-issued computer


          2
           Exhibit 46 to the Complaint is a privileged memo from Lehman to his attorneys
outlining the facts as he understood or believed them to be at the time the memo was written. It
provides a factual summary, as well as potential responses to Plaintiff's allegations. Plaintiff's
counsel's decision to (1) access this information without authority and (2) file that information as
part of a pleading in Federal Court is nothing short of outrageous. Plaintiff should be ordered to
take immediate steps to cure its improper possession and use of Lehman's privileged
information, if that is even possible. See, e.g., Fed. R. Civ. P. 26(b)(5)(B). Moreover, Plaintiff's
unauthorized possession and use of Lehman's privileged information for Plaintiff's own purposes
raises serious ethical concerns. See M.R.P.C. 1.6(b).

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without authorization while he was an employee, that he misappropriated certain unidentified

trade secrets, that he breached the parties' two contracts in nine different ways, that he breached

his fiduciary duty to Plaintiff by allegedly preparing to compete, and that he tortiously interfered

with certain contracts between Plaintiff and various employees. See id. at ¶¶ 221-346.

III.   LAW AND ARGUMENT

       A.      STANDARD OF REVIEW

       Under the Federal Rules of Civil Procedure, a complaint must contain "a short and plain

statement of the claim showing that the pleader is entitled to relief[.]" Fed. R. Civ. P. 8(a)(2).

To survive a motion to dismiss under Rule 12(b)(6), "a complaint must contain sufficient factual

matter, accepted as true, to state a claim to relief that is plausible on its face." Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (quotations omitted); accord Casias v. Wal-Mart Stores, Inc., 695 F.3d

428, 435 (6th Cir. 2012). "A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged." Iqbal, 556 U.S. at 678 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

570 (2007)). Not all allegations need be accepted as true, however. Courts should not "accept as

true a legal conclusion couched as a factual allegation." Twombly, 550 U.S. at 555. A pleading

that merely offers "labels and conclusions" or "a formulaic recitation of the elements of a cause

of action will not do." Twombly, 550 U.S. at 555. Nor is a complaint sufficient if it provides

only "naked assertion[s]" devoid of "further factual enhancement." Id. at 557; see also Iqbal,

556 U.S. at 678. In determining whether a claim has facial plausibility, courts consider the

allegations in the complaint and may also consider any attachments or exhibits. Mackall v. U.S.

Postal Serv., No. 12–cv–10302, 2012 WL 2131150, at *1, fn. 2 (E.D. Mich. May 2, 2012); see

also Weiner v. Klais & Co., Inc., 108 F.3d 86, 89 (6th Cir. 1997).



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       B.      PLAINTIFF'S COMPLAINT IS AN IMPROPER "SHOTGUN" PLEADING AND SHOULD
               BE DISMISSED IN ITS ENTIRETY.

       Plaintiff's Complaint is sixty-eight (68) pages long. It contains three hundred forty-six

(346) numbered paragraphs, excluding sub-paragraphs, many of which are conclusory and

contain multiple factual allegations. Together with seventy-one (71) exhibits, the Complaint

totals six hundred three (603) pages. The thirteen (13) counts in the Complaint, many of which

are redundant or serve no apparent purpose,3 are preceded by thirty-seven (37) pages of

cumbersome factual allegations, made in two hundred twenty (220) numbered paragraphs. Each

and every one of the thirteen counts in the Complaint begins by alleging, "Plaintiff incorporates

by reference each of the allegations contained in the foregoing paragraphs 1-220 as if fully

restated herein." See, e.g., Complaint [Dkt. # 1] at ¶ 221 (emphasis added). In short, Plaintiff's

Complaint is neither simple, concise, nor direct.       See Fed. R. Civ. P. 8(d).      Rather, it is

convoluted, expansive, and meandering.

       Under Rule 8, "[e]ach allegation [in a complaint] must be simple, concise, and direct."

Fed. R. Civ. P. 8(d)(1). "A pleading that states a claim for relief must contain … a short and

plain statement of the claim showing that the pleader is entitled to relief." Fed. R. Civ. P. 8(a)(2)

(emphasis added). "The words 'short and plain' are themselves short and plain, and they mean

what they say: A complaint must be concise, and it must be clear. Rule 8 was not promulgated

to provide helpful advice; it has the force of law and it must be followed." Gurman v. Metro

Housing & Redevelopment Auth., 842 F. Supp. 2d 1151, 1152 (D. Minn. 2011) (dismissing sixty



       3
          For instance, the Complaint contains nine separate breach of contract counts. See
Complaint [Dkt. #1] at 45-64. In other places, the Complaint crams multiple claims into a single
count, making it even less clear what Plaintiff's actual legal theories are, much less the supposed
factual basis for those theories. See, e.g., Complaint [Dkt. #1] at 40 (purporting to assert three
separate claims for various violations of the CFAA in a single count).

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page complaint containing 250 paragraphs and 17 counts and noting, "Plaintiffs' complaint

manages to be both prolix and uninformative").

       "The law recognizes a significant difference between notice pleading and 'shotgun'

pleading." Glenn v. First Nat'l Bank, 868 F.2d 368, 371 (10th Cir. 1989) (affirming dismissal of

lengthy complaint that did not connect particular allegations to particular causes of action and

noting, "we conclude the trial court did not err in refusing to attempt to create order out of

chaos"). "Length may make a complaint unintelligible by scattering and concealing in a morass

of irrelevancies the few allegations that matter." Stanard v. Nygren, 658 F.3d 792, 797 (7th Cir.

2012) (quoting Garst v. Lockheed-Martin Corp., 328 F.3d 374 (7th Cir. 2003). However,

"[j]udges and adverse parties need not try to fish a gold coin from a bucket of mud; dismissal is

the appropriate remedy for district courts presented with a bucket of mud." Cincinnati Life Ins.

Co. v. Beyrer, 722 F.3d 939, 947 (7th Cir. 2013) (internal citations and quotations omitted).

       Because Rule 8 requires pleadings to be short and plain, courts have regularly

criticized—and rejected—verbose "kitchen sink" or "shotgun" complaints, "in which a plaintiff

brings every conceivable claim against every conceivable defendant"4 or where a complaint

presents a litany of factual allegations followed by numerous counts, "where each count adopts

the allegations of all preceding counts,"5 making it "virtually impossible to know which

allegations of fact are intended to support which claim(s) for relief."6 "This method of pleading

everything, 'including the kitchen sink,' displays a lack of care, deliberation, and professionalism




       4
           Gurman, 842 F. Supp. 2d at 1153.
       5
           Paylor v. Hartford Fire Ins. Co., 748 F.3d 1117, 1126 (11th Cir. 2014).
       6
           Paylor, 748 F.3d at 1126.

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on the part of counsel engaging in such conduct." Glover v. Mary Jane Elliott, P.C., No. 1:07-

cv-648, 2007 WL 2904050, at *2 (W.D. Mich. Oct. 2, 2007) (Scoville, J.).

         "Shotgun" or "kitchen sink" complaints are problematic for a number of reasons. They:

"exact an intolerable toll on the trial court's docket, lead to unnecessary and unchannelled

discovery, and impose unwarranted expense on the litigants, the court and the court's parajudicial

personnel and resources." Cramer v. Florida, 117 F.3d 1258, 1263 (11th Cir. 1997) (affirming

dismissal). Due to these inherent problems, "shotgun" pleadings are "altogether unacceptable."

Id. "The plaintiff who files a kitchen-sink complaint [improperly] shifts onto the defendant and

the court the burden of identifying plaintiff's genuine claims and determining which of those

claims might have legal support." Gurman, 842 F. Supp. 2d at 1153. However, "[i]t is [ ]

plaintiffs' burden, under both Rule 8 and Rule 11, to reasonably investigate their claims, to

research the relevant law, to plead only viable claims, and to plead those claims concisely and

clearly, so that a defendant can readily respond to them and a court can readily resolve them."

Id.    "A defendant served with a shotgun complaint should move the district court to dismiss the

complaint pursuant to Rule 12(b)(6)[.]" Paylor, 748 F.3d at 1126; see also McClean Contracting

Co. v. Waterman Steamship Corp., 277 F.3d 477, 480 (4th Cir. 2002).

         Plaintiff's Complaint is precisely the sort of "shotgun" or "kitchen sink" complaint that

courts have uniformly condemned, and it should be dismissed accordingly. The Complaint is

nearly seventy pages long and contains more than three hundred paragraphs of factual

allegations. Many of these allegations are entirely conclusory. See, e.g., Complaint [Dkt. # 1] at

¶ 345 ("The actions by Lehman and Thorium were willful, and accomplished by improper

motive and through improper means."). Others allege wrongdoing by individuals other than

Lehman—individuals who, despite allegedly grievous misconduct, were not joined as



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defendants—or that Lehman did not engage in certain alleged wrongdoing. See, e.g., id. at

¶¶ 120, 125 (alleging that other individuals, and not Lehman, improperly submitted expense

reports).

         Worse yet, each and every one of Plaintiff's thirteen counts incorporates all two hundred

twenty "background" allegations by reference—including those that cite to one or more of the

seventy-one attached exhibits. As a result, it is impossible to know which factual allegations are

supposedly material to each particular claim; Plaintiff has "essentially coughed up an unsightly

hairball of factual and legal allegations, stepped to the side, and invited the defendants and the

Court to pick through the mess and determine if plaintiffs may have pleaded a viable claim or

two."7       Gurman, 842 F. Supp. 2d at 1154; see also Beyrer, 722 F.3d at 947.            "That is

emphatically not the job of either a defendant or the Court." Gurman, 842 F. Supp. 2d at 1154.

Rather than attempting to "create order out of chaos," the Court should simply dismiss Plaintiff's

entire Complaint for failure to comply with Rule 8. See Glenn, 868 F.2d at 371.

         7
          Not only does the Complaint fail to link particular allegations to particular claims, but
shotgun complaints like Plaintiff's necessarily result in onerous, unfocused discovery. See
Decker v. Massey-Ferguson, Ltd., 681 F.2d 111, 114-15 (2d Cir. 1982) (dismissing 69 page
shotgun complaint as "anything but the simple, direct, and concise statement mandated by Rule
8[d]" and noting, the complaint "would give [plaintiffs'] attorneys carte blanche in the area of
liberal federal discovery."). "Because the 'in terrorem effect of such unfettered discovery would,
to say the least, be substantial, it is important that the wheat … be separated from the chaff." Id.
at 115; see also Cook v. Randolph County, 573 F.3d 1143, 1151 (11th Cir. 2009) ("Experience
teaches that unless cases are pled clearly and precisely, issues are not joined, [and] discovery is
not controlled[.]" (quoting Anderson v. District Bd. of Trs. Of Central Fla. Cmty. Coll., 77 F.3d
364, 367 (11th Cir. 1996)).

        Plaintiff has already provided a preview of the cumbersome, far-reaching discovery that
will likely face the Court and the parties if Plaintiff's Complaint is allowed to survive. Along
with the Complaint, Plaintiff filed a motion for expedited discovery, which this Court summarily
denied, along with extensive proposed initial discovery. See Motion for Expedited Discovery
[Dkt. # 6]. Plaintiffs' proposed initial discovery included forty-six (46) interrogatories—
excluding numerous subparts—and sixty (60) requests for production of documents, even though
Defendants already made their computers available to Plaintiff voluntarily for forensic
inspection. See, e.g., Complaint [Dkt. # 1] at ¶ 67.
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       C.      PLAINTIFF FAILS TO ALLEGE A VIOLATION OF THE CFAA (COUNT I).

       Count I of Plaintiff's Complaint purports to allege various violations of the CFAA,

18 U.S.C. § 1030. "To state a civil claim for a violation of the CFAA, the plaintiff must allege 1)

damage or loss; 2) caused by; 3) a violation of one of the substantive provisions set forth in

§ 1030(a); and 4) conduct involving one of the factors in § 1030(c)(4)(A)(i)(I)-(V)."8

CustomGuide v. CarreerBuilder, LLC, 813 F. Supp. 2d 990, 997-98 (N.D. Ill. 2011). Generally

speaking, the CFAA recognizes two categories of claims: "access" claims and "transmission"

claims. See Pulte Homes, Inc. v. Laborers' Int'l Union of N.A., 648 F.3d 295, 301 (6th Cir.

2011). "Access" claims involve situations where an individual supposedly accesses a computer

without authority. See id. at 303; see also 18 U.S.C. § 1030(a)(2)(C); 18 U.S.C. § 1030(a)(4).

"Transmission" claims involve situations where an individual causes the transmission of a

program resulting in "damage" to a protected computer system. See 18 U.S.C. § 1030(a)(5)(A).

Plaintiff has attempted to assert two "access" claims and one "transmission" claim under the

CFAA. Plaintiff has failed to state a claim under the CFAA under any theory, however.

               1.     The CFAA Is a Criminal Statute and Must Be Construed Narrowly,
                      in Defendants' Favor.

       "Congress enacted the CFAA in 1984 primarily to address the growing problem of

computer hacking[.]" U.S. v. Nosal, 676 F.3d 854, 859 (9th Cir. 2012); see also Dice Corp. v.

Bold Techs., 913 F. Supp. 2d 389, 414 (E.D. Mich. 2012), aff'd 556 Fed. App'x 378 (6th Cir.

2014). "Generally, the CFAA protects against unauthorized computer access." Dice Corp. v.

Bold Techs., 556 Fed. App'x 378, 387 (6th Cir. 2014). While the statute does provide for limited

       8
          The CFAA provides a private remedy only if a plaintiff can establish a substantive
violation and one of the factors set forth in § 1030(c)(4)(A)(i)(I)-(V). 18 U.S.C. § 1030(g). See
18 U.S.C. § 1030(c)(4)(A)(i)(II)-(V). The only factor even arguably at issue in this case is
18 U.S.C. § 1030(c)(4)(A)(i)(I), which applies to the "loss to 1 or more persons during any 1-
year period … aggregating at least $5,000 in value."

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civil liability,9 "the CFAA is a criminal statute focused on criminal conduct.          The civil

component is an afterthought." Shamrock Foods Co. v. Gast, 535 F. Supp. 2d 962, 966 (D. Ariz.

2008).

         "[B]ecause the CFAA is primarily a criminal statute, the rule of lenity requires any

ambiguity to be resolved in favor of the party accused of violating the law. Federal criminal

liability should not be based on every violation of a private computer use policy." Dana Ltd. v.

Am. Axle & Mfg. Holdings, Inc., No. 1:10-CV-450, 2012 WL 2524008, at *4 (W.D. Mich. June

29, 2012) (Bell, J.) (citation omitted). This is true regardless of whether the action is civil or

criminal in nature. Pulte Homes, 648 F.3d at 302.

         "[I]ncreasingly, employers have used [the CFAA,] a statute originally designed to punish

hackers[,] against disloyal employees." Dresser-Rand Co. v. Jones, 957 F. Supp. 2d 610, 615

(E.D. Pa. 2013). However, "the CFAA was not meant to cover the disloyal employee who walks

off with confidential information. Rather, the statutory purpose is to punish trespassers and

hackers." Dana, 2012 WL 2524008, at *4 (quoting Am. Family Mut. Ins. Co. v. Rickman, 554 F.

Supp. 2d 766, 771 (N.D. Ohio 2008)). In light of the intent of the statute, courts increasingly

have resisted efforts by employers to stretch the CFAA beyond its intended application. See,

e.g., id.; see also WEC Carolina Energy Solutions, LLC v. Miller, 787 F.3d 199, 207 (4th Cir.

2012) (dismissing CFAA claim and noting, "we are unwilling to contravene Congress's intent by

transforming a statute meant to target hackers into a vehicle for imputing liability to workers

who access computers or information in bad faith or who disregard a use policy."); Nosal, 676

F.3d at 860 (dismissing employer's CFAA claim and noting, "under the [plaintiff's] broad




         9
             See 18 U.S.C. § 1030(g).

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interpretation of the CFAA, such minor dalliances [as violating computer use policies] would

become federal crimes.").

               2.      Plaintiff's CFAA Claim Fails, Because Plaintiff Has not Alleged an
                       Interruption in Service and Therefore Fails to Allege a "Loss" Under
                       the Act.

       Given the convoluted nature of Plaintiff's Complaint, the supposed factual basis for each

of Plaintiff's CFAA claims is not entirely clear.10 It is clear, however, that Plaintiff has failed to

state a claim under the CFAA, because Plaintiff has not alleged a "loss," as defined in and

required by the statute. 18 U.S.C. § 1030(g) provides, "[a]ny person who suffers damage or loss

by reason of a violation of [the CFAA] may maintain a civil action against the violator to obtain

compensatory damages and injunctive relief or other equitable relief. A civil action for violation

of this section may be brought only if the conduct involves 1 of the factors set forth in subclauses

(I), (II), (III), (IV), or (V) of subsection (c)(4)(A)(i)." 18 U.S.C. § 1030(g) (emphasis added).

Subsection 1030(c)(4)(A)(i)(I), the only factor arguably applicable, requires a showing of a "loss

to one or more persons during any 1-year period … aggregating at least $5,000 in value."

18 U.S.C. § 1030(c)(4)(A)(i)(I) (emphasis added). Thus, no matter which CFAA theory Plaintiff

is attempting to pursue, it must establish a "loss" as defined under the statute. See id.; see also

Grant Mfg. & Alloying, Inc. v. McIlvain, No. 10-1029, 2011 WL 4467767, at *4 fn. 9 (E.D. Pa.

2011) (CFAA plaintiff must establish statutorily-defined "loss" where other factors set forth in

§ 1030(c)(4)(A)(i)(I)-(V) are clearly inapplicable); Nexans Wires S.A. v. Sark-USA, Inc., 319

F. Supp. 2d 468, 472 (S.D.N.Y 2004) (same).

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            While contained in one count, Plaintiff attempts to allege three separate theories of
liability, asserting violations of 18 U.S.C. §§ 1030(a)(2)(C) (accessing a protected computer
without authorization and thereby obtaining information), 1030(a)(4) (accessing a protected
computer without authorization and with intent to defraud and thereby obtaining anything of
value), and 1030(a)(5)(A) (causing the transmission of a program and intentionally causing
damage to a protected computer).
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        The CFAA defines a "loss" as "any reasonable cost to any victim, including the cost of

responding to an offense, conducting a damage assessment, and restoring the data, program,

system, or information to its condition prior to the offense, and any revenue lost, incurred, or

other consequential damages incurred because of interruption of service[.]"                  18 U.S.C.

§ 1030(e)(11) (emphasis added). Consistent with the statutory language and anti-hacking intent

of the CFAA, any claim under the CFAA must arise out of an interruption of service; absent such

an interruption, there is no "loss" under the act. Gen. Scientific Corp. v. SheerVision, Inc.,

No. 10-cv-13582, 2011 WL 3880489, at *4 (E.D. Mich. Sept. 2, 2011) ("As the statutory

language makes clear, 'losses' under the CFAA are limited to costs incurred and profits lost as a

direct result of interrupted computer service."); Cheney v. IDP Analytics, LLC, No. 08-23188-

CIV, 2009 WL 1298405, at *6 (S.D. Fla. April 16, 2009) (dismissing CFAA claim arising out of

former employee's alleged misappropriation and subsequent deletion of confidential information

from his work computer for failure to allege a "loss" and noting, "[p]lain reading of the definition

of 'loss' under the statute suggests that any 'loss' must be related to interruption of service.").11



        11
           A growing number of courts have adopted this narrow interpretation of "loss" under the
CFAA, which is consistent with the statutory language and intent, as well as the rule of lenity.
See, e.g., Cenveo Corp. v. CelumSolutions Software GMBH & Co. KG, 304 F. Supp. 2d 574, 581
(D. Minn. 2007) (dismissing CFAA claim where Plaintiff failed to allege an interruption of
service, and therefore failed to allege a statutory "loss"); Cohen v. Gulfstream Training Academy,
Inc., No. 07-60331-CIV, 2008 WL 961472, at *4 (S.D. Fla. April 9, 2008) (dismissing CFAA
claim and noting, "any 'loss' must be related to interruption of service"); Continental Group, Inc.
v KW Prop. Mgmt., LLC, 622 F. Supp. 2d 1357, 1371 (S.D. Fla. 2009) ("noting that under the
CFAA, all loss must be as a result of 'interruption of service.'"); Capitol Audio Access, Inc. v.
Umemoto, 980 F. Supp. 2d 1154, 1158 (E.D. Cal. 2013) (dismissing CFAA claim for failure to
allege an interruption of service); Von Holdt v. A-1 Tool Corp., 714 F. Supp. 2d 863, 876 (N.D.
Ill. 2010) (CFAA claim not viable absent evidence of an interruption of service); Del Monte
Fresh Produce, N.A., Inc. v. Chiquita Brands Int'l., Inc., 616 F. Supp. 2d 805, 812 (N.D. Ill.
2009) (same); ReMedPar, Inc. v. AllParts Medical, LLC, 683 F. Supp. 2d 605, 614 (M.D. Tenn.
2010) (dismissing purported CFAA claim where Plaintiff failed to allege any interruption in
service and citing additional authorities).

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        Plaintiff does not, and cannot, allege an interruption in service as a result of Lehman's

purported conduct. Plaintiff does not allege that it was unable to access its computer systems,

that its business was interfered with in any way, or that it was unable to conduct its business in

the usual manner. Because Plaintiff does not allege a single fact suggesting an interruption in

service, Plaintiff has failed to allege a "loss" under the CFAA, and Count I of the Complaint

should be dismissed. See id.

               3.     Plaintiff's "Access" Theories Fail, Because Lehman Was Authorized
                      to Access His Work Computer.

       Plaintiff attempts to assert two "access" theories under the CFAA, alleging violations of

18 U.S.C. §§ 1030(a)(2)(C) and 1030(a)(4). Each theory requires plaintiffs to allege and prove

that a defendant accessed a computer system "without authorization" or in a manner that

"exceeds authorized access." Notably, using information is not the same thing as accessing a

computer system under the CFAA. New Show Studios, LLC v. Needle, No. 2:14-cv-01250-CAS,

2014 WL 2988271, at *6 (C.D. Cal. June 30, 2014). "The CFAA expressly prohibits improper

"access" of computer information. It does not prohibit misuse or misappropriation" of

information. Dana, 2012 WL 2524008, at *3 (quoting Orbit One Commc'ns, Inc. v. Numerex

Corp., 692 F. Supp. 2d 373, 385 (S.D.N.Y. 2010)). "Congress did not intend the CFAA to

extend to situations where the access [to a computer] was technically authorized but the

particular use of the information was not." Id. at *4. Consequently, an "access" claim under the

CFAA is viable only where "initial access is not permitted" or where "initial access is permitted

but the access of certain information is not permitted." Ajuba Int'l, LLC v. Saharia, 871 F. Supp.

2d 671, 687 (E.D. Mich. 2012).12



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           While some courts have adopted a broader interpretation of the terms "without
authorization" and "exceeds authorized access," based on an agency theory, a growing number of
                                               15
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       Courts applying this plain reading of the CFAA have rejected "access" claims brought by

employers against employees based on the employees' alleged misuse of company-issued

computers. See, e.g., Nosal, 676 F.3d at 860-61 (discussing numerous problems with a broad

interpretation of the CFAA in the employment context, which would convert routine office

activity into federal crimes). This is because employers routinely provide access to computer

networks as part of their employees' job duties. "Once an employee is granted 'authorization' to

access an employer's computer that stores confidential company data, that employee does not

violate the CFAA regardless of how he subsequently uses the information." Cranel, Inc. v. Pro

Image Consultants Grp., LLC, No. 2:13-cv-766, 2014 WL 4829485, at *7 (S.D. Ohio Sept. 29,

2014) (emphasis added); Rickman, 554 F. Supp. 2d at 772 (dismissing CFAA claim against

former employee based on alleged misuse of work computer and noting, "Defendant … may

have violated his employment agreements, but the allegations against him are not that he was a

computer pirate or that he otherwise caused harm to [P]laintiff's computer"); Shamrock Foods

535 F. Supp. 2d at 966 (dismissing employer's former CFAA claim and noting that the statute

"deals with an 'unauthorized access' concept of computer fraud rather than the mere use of a

computer.").

       Moreover, courts have increasingly held that an employer's internal computer policies are

irrelevant to the CFAA analysis; where an employee initially is permitted to access a computer,

it is irrelevant whether the employee subsequently uses information obtained through such



courts have rejected this broad approach, noting that it is inconsistent with the rule of lenity. See,
e.g., Dana, 2012 WL 2524008, at *3-*5 ("because there is no dispute that [plaintiff] gave
[defendants] authority to access the files, [plaintiff] cannot establish that [defendants] accessed
the files without authorization for purposes of the CFAA."); see also Nosal, 676 F.3d at 857
(noting that a broad interpretation of the CFAA and its access provisions would "transform the
CFAA from an anti-hacking statute into an expansive misappropriation statute.").

                                                 16
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permitted access, even if such use is expressly prohibited.13 See e.g. Nosal, 676 F.3d at 863

("[I]f Congress wants to incorporate misappropriation liability into the CFAA, it must speak

more clearly."); see also WEC Carolina Energy, 687 F.3d at 207 ("we are unwilling to

contravene Congress's intent by transforming a statute meant to target hackers into a vehicle for

imputing liability to workers who … disregard a use policy."); LVRC Holdings LLC v. Brekka,

581 F.3d 1127, 1133 (9th Cir. 2009) ("[W]hen an employer authorizes an employee to use a

company computer subject to certain limitations, the employee remains authorized to use the

computer even if the employee violates those limitations.").

        Adopting a narrow interpretation of the CFAA, this Court recently rejected a former

employer's purported CFAA claim based on similar facts to this case. In Dana, the plaintiff

alleged that a former employee improperly accessed a computer system when that employee

copied numerous files onto his personal computer before leaving the company, subsequently

deleting those files. See Dana, 2012 WL 2524008, at *1. The plaintiff attempted to argue both

"access" and "transmission" theories under the CFAA.14 This Court rejected both theories. Id. at

*5-*6. In rejecting the plaintiff's "access" theory, the Court relied heavily on the fact that the

defendants were authorized to access the computers in connection with their job duties. See id.

at *3, *6.

        The result should be no different here. Plaintiff expressly alleges that Lehman had access

to Plaintiff's "highly confidential and proprietary information" and that he was authorized to use

his work computer to access such information. See Complaint [Dkt. #1] at ¶¶ 3 (alleging

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             Plaintiff's heavy reliance on its internal computer policies is therefore misplaced.
        14
           Although the plaintiff does not appear to have articulated its legal theories by
distinguishing between "access" and "transmission," the employee in that case allegedly deleted
information from his computer after copying it, leading to a number of arguments in support of
an alleged CFAA violation based on the destruction of information.

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Lehman had access to confidential and proprietary information), 53 (acknowledging that Lehman

was provided access to "extensive confidential and/or proprietary information."), 58 (alleging

that Lehman was provided with an "EMS laptop computer" in connection with his employment,)

164 (alleging Lehman was provided with a laptop by Plaintiff). Because Plaintiff concedes that

Lehman was provided with, and permitted to use, the laptop at issue in connection with his work,

Plaintiff's access claims fail as a matter of law.15 WEC Carolina Energy, 687 F.3d at 207; Nosal,

676 F.3d at 864.

               4.     Plaintiff's "Transmission" Theory Fails, Because Plaintiff Has not
                      Alleged "Damage" Under the Act.

       Plaintiff's purported "transmission" theory fares no better than its "access" theories.

18 U.S.C. § 1030(a)(5)(A) establishes a CFAA claim where one "knowingly causes the

transmission of a program, information, code, or command, and as a result of such conduct,

intentionally causes damage without authorization, to a protected computer[.]" (emphasis added).

"Damage" is defined by the CFAA as "any impairment to the integrity or availability of data, a

program, a system, or information[.]" 18 U.S.C. § 1030(e)(8). This definition of "damage"


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           To the extent Plaintiff's "access" claims are based on Lehman's access to Plaintiff's
information, as opposed to its computer, that claim is untenable; CFAA does not regulate access
to information, but rather access to computers. See 18 U.S.C. §§ 1030(a)(2), 1030(a)(4); New
Show Studios, 2014 WL 2988271, at *6 ("Accessing Plaintiffs' information, however, is not the
same thing as accessing Plaintiffs' computer systems, even if that information was at some point
stored on those computers."). Further, to the extent Plaintiff's "access" theory arises out of
Lehman's alleged access to his work computer for the purpose of deleting information, that claim
is contrary to the plain language of the statute, which applies only if such unauthorized access is
used to obtain, rather than destroy information. See id.; see also Grant Mfg., 2011 WL 4467767,
at *8 (rejecting "access" claim where Defendant allegedly accessed computer to delete
information). Finally, to the extent Plaintiff's theory is based on the alleged access of computers
by individuals other than Mr. Lehman, that theory is fatally flawed. See, e.g., Jagex Ltd v.
Impulse Software, 750 F. Supp. 2d 228, 238 (D. Mass. 2010) (rejecting CFAA claim based on
alleged access by individuals other than Defendant); see also Nat'l City Bank, N.A. v. Republic
Home Loans, LLC, No. C09-1550RSL, 2010 WL 959925, at *5 (W.D. Wash. March 12, 2010)
(same).

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requires "some diminution in the completeness or usability of data or information on a computer

system." Pulte Homes 648 F.3d at 302 (emphasis added). In other words, to state a claim under

the CFAA under a "transmission" theory, a plaintiff must allege and establish that a

"transmission" weakened a sound computer system or diminished the plaintiff's ability to use

data or a system. See id. at 301. "[D]eletion of files alone does not constitute damage if the

deleted data is still available to the plaintiff through other means." Dana, 2012 WL 2524008, at

*5; see also Grant Mfg. 2011 WL 4467767, at *8 (rejecting "transmission" claim under the

CFAA where deleted information was still available to the plaintiff in other ways).

Consequently, courts routinely reject "transmission" theories under the CFAA where the plaintiff

fails to allege and establish permanent deletion of original files. That is, a "transmission" claim

is not viable absent a showing that the allegedly deleted data is inaccessible by any other means.

See, e.g., Dana, 2012 WL 2524008, at *6; see also Saban v. Caremark Rx, LLC, 780 F. Supp. 2d

700, 736 (N.D. Ill. 2011) (bare allegations of deletion of data from devices held insufficient to

establish "transmission" claim).

       Plaintiff's Complaint fails to allege that Lehman's alleged conduct deprived Plaintiff of

the use of any of its information. While the Complaint generally alleges that Lehman deleted

certain unidentified files contained on his work laptop, there are no allegations that this supposed

conduct somehow deprived Plaintiff of that information. In fact, the allegations in the Complaint

suggest that Plaintiff is able to access its own information; Plaintiff specifically alleges that the

information supposedly on Lehman's work computer originated from Plaintiff's "proprietary and

protected network." See, e.g., Complaint [Dkt. #1] at ¶ 129 (alleging certain e-mail was copied

from Plaintiff's network and e-mailed to Lehman). Plaintiff likewise alleges that the information

supposedly deleted from Lehman's laptop hard drive was pulled from "EMS' computer



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system[.]" See id. at ¶ 232. Additionally, Plaintiff is in possession of a "clone" of Lehman's

laptop, which is an identical copy of the hard drive in the laptop supposedly at issue. See

Complaint [Dkt. # 1-54], Ex. 56. Again, Plaintiff fails to allege that it is unable to access any of

this information or that its "protected network" or "computer system" have been compromised.

Since Plaintiff fails to allege that any particular original data or files belonging to Plaintiff were

destroyed and are inaccessible by any other means, Plaintiff's "transmission" claim fails as a

matter of law.

       D.        PLAINTIFF HAS FAILED TO STATE A CLAIM FOR MISAPPROPRIATION OF TRADE
                 SECRETS (COUNT II).

       Plaintiff's claim for purported misappropriation of trade secrets under MUTSA, M.C.L.

§ 445.1901, et seq., is also deficient. To state a claim for misappropriation under MUTSA, a

Plaintiff must allege: "(1) the existence of a trade secret; (2) the Defendant's acquisition of the

trade secret in confidence; and (3) the Defendant's unauthorized use of it." Dice Corp., 913 F.

Supp. 2d at 406. Plaintiff devotes just nine conclusory paragraphs to its misappropriation claim,

and while Plaintiff attempts to allege the bare elements of a misappropriation claim, such a

threadbare recital of the elements of a cause of action is insufficient to state a claim. See, e.g.,

Twombly, 550 U.S. at 555; Iqbal, 556 U.S. at 678.

       To qualify as a "trade secret" under MUTSA, the information at issue must not only be

kept secret, but it must also have independent economic value from not being known to or

readily ascertainable by the public. See M.C.L. § 445.1902(d). Plaintiff's Complaint simply

describes certain broad and generic categories of purported trade secrets such as "research and

development activities and efforts," "marketing strategies," and "business strategies." See

Complaint [Dkt. # 1] at ¶ 243. Aside from the fact that these vague assertions do not begin to




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identify the purported trade secrets with any specificity.16 There are absolutely no factual

allegations demonstrating that Plaintiff's unidentified trade secrets derive independent economic

value from not being generally known. See M.C.L. § 445.1902(d). Instead, Plaintiff simply

claims that it "derives independent economic value from this information not being generally

known to the public[.]" Complaint [Dkt. #1] at ¶244.

       In other words, Plaintiff merely regurgitates the definition of a "trade secret" under

MUTSA. This amounts to nothing more than "a formulaic recitation of the elements of a cause

of action," and is insufficient to state a claim for misappropriation of trade secrets. Twombly,

550 U.S. at 555; see also Scottsdale Ins. Co. v. Cook, No. CV-10-1661-PHX, 2010 WL 4942764,

at *3 (D. Ariz. Nov. 24, 2010) (dismissing trade secrets claim where "plaintiff [made] only

minimal factual allegations about the specific trade secrets that were allegedly disclosed, and

barely [went] beyond the conclusory allegations of each element of the offense"); Medafor, Inc.

v. Starch Med., Inc., No. 09-CV-0441, 2009 WL 2163580, at *1 (D. Minn. July 16, 2009)

(dismissing trade secrets claim, citing Twombly, where Plaintiff described the trade secrets

allegedly at issue in a manner "so broad as to be meaningless" and Plaintiff failed to allege facts

sufficient to demonstrate Defendant's alleged use of purported trade secrets); Schleif v.

Nu-Source, Inc., No. 10-4477, 2011 WL 1560672, at *7 (D. Minn. April 25, 2011) (dismissing

trade secrets claim where Plaintiff simply alleged that it maintained trade secrets and that

Plaintiff had access to those supposed secrets and noting, "this threadbare recital does not satisfy

the standards set forth by the Supreme Court in Twombly and Iqbal.").




       16
          A Plaintiff asserting a misappropriation claim under Michigan law must identify the
purported trade secrets "clearly, unambiguously, and with specificity." See, e.g., Utilase, Inc. v.
Williamson, No. 98-1233, 98-1320, 1999 WL 717969, at *6 (6th Cir. Sept. 10, 1999).

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         Plaintiff also fails to allege any facts to suggesting that Lehman or Thorium actually used

Plaintiff's purported trade secrets in any way. Instead, Plaintiff simply alleges that "Lehman and

Thorium have explicitly acknowledged their use of EMS' [unidentified] trade secrets in

[unidentified] documents sent to [unidentified] potential Thorium partners and clients."

Complain [Dkt. # 1] at ¶ 246 (emphasis added). This bare, self-serving and entirely conclusory

allegation is insufficient to state a claim under the standards set forth in Iqbal and Twombly. See

id. Because Plaintiff's MUTSA claim relies entirely on conclusory allegations and threadbare

recitals of the elements of a MUTSA claim, Count II of the Complaint must be dismissed. See

id.

         E.     PLAINTIFF'S BREACH OF CONTRACT CLAIMS FAIL (COUNTS III-XI).

         The Complaint contains nine separate breach of contract claims. Despite hundreds of

allegations, however, the Complaint fails to state a claim for breach of contract for three

independent reasons. First, Plaintiff fails even to allege that Plaintiff suffered damages as a

result of the purported breaches. Second, the restrictive covenants in both the Employment

Agreement and the Settlement Agreement, which give rise to Plaintiff's claims, are

unenforceable. Finally, Plaintiff's claims arising out of Lehman's Employment Agreement fail,

because that agreement was expressly superseded by the Settlement Agreement.

                1.      Plaintiff Fails to Allege Damages.

         Under both Illinois and New York law,17 damages are an essential component of a breach

of contract claim, and where a plaintiff fails to adequately allege damages, dismissal is

warranted. Palmolive Tower Condominiums, LLC v. Simon, 949 N.E.2d 723, 730 (Ill. Ct. App.


         17
          The Employment Agreement is governed by Illinois law. Employment Agreement
[Dkt. # 1-1] at 1, ¶ 3. The Settlement Agreement is governed by New York law. Settlement
Agreement [Dkt. # 1-7] at 3, ¶ 13.

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2011) (dismissing breach of contract claim where plaintiff failed to allege facts demonstrating

damages); McCormick v. Favreau, 82 A.D.3d 1537, 1541 (N.Y. App. Div. 2011) (dismissing

breach of contract claim where plaintiff failed to allege facts sufficient to demonstrate damages

arising out of purported breach of non-compete agreement).

       Despite spanning nearly seventy pages, the Complaint fails to allege a single fact

suggesting that Plaintiff has suffered any damages whatsoever.18 Plaintiff does not identify a

single customer or employee lost as a result of Lehman's alleged conduct.19 Likewise, Plaintiff

does not claim to have lost any revenue or profits. Plaintiff does not allege such damages,

because it has not actually suffered any damages. The closest Plaintiff comes to alleging facts—

as opposed to bare conclusions—on the issue of damages is in several boilerplate paragraphs

suggesting that Plaintiff made certain severance payments to Lehman and provided him with

stock options. See Complaint [Dkt. # 1] at ¶¶ 261, 270, 279, 287, 296, 305, 315, 324, 333.

These contractual payments cannot constitute damages; Plaintiff was contractually obligated to

make those payments and would have done so even if Lehman had not allegedly breached the

parties' agreements. "The purpose of damages for breach of contract is to put the injured party in

the position it would have been in had the contract been fully performed" Palmolive Tower

Condos, 949 N.E.2d at 730. Since Plaintiff is in precisely the same position that it would be in

       18
           Additionally, Plaintiff's claims based on alleged breaches of Lehman's purported
confidentiality obligations fail, as Plaintiff does not allege that Lehman actually used or
disclosed any particular confidential information (i.e., Plaintiff has not alleged a breach that
could give rise to damages). See, e.g., Complaint [Dkt. # 1] at ¶¶ 258, 293 ("To the extent that
Lehman used and uses EMS confidential and trade secret information … Lehman has breached
is [sic] obligation … to maintain in confidence non-public information of EMS." (emphasis
added)). These allegations amount to nothing more than pure speculation.
       19
           While Plaintiff identifies various employees supposedly solicited by Lehman at an
unidentified time and in an unarticulated manner, Plaintiff alleges and concedes that this alleged,
unidentified solicitation did not result in the departure of a single employee; Plaintiff fired those
employees unilaterally. Complaint [Dkt. # 1] at ¶ 133.

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even in the absence of any alleged breach of the parties' agreements, its allegations of "damages"

in the form of severance payments are insufficient, and each of its breach of contract claims

should be dismissed.

                2.      Plaintiff's Breach of Contract Claims Are Invalid, Because the
                        Restrictive Covenants in the Parties' Agreements Are Unenforceable.

        Counts III-XI of the Complaint are based on alleged violations of various restrictive

covenants in the Employment Agreement and the Settlement Agreement, including covenants

not to compete and not to solicit customers or employees. See Complaint [Dkt. # 1] at ¶¶ 252-

333. At the same time, Plaintiff expressly alleges that Lehman was involuntarily discharged

because his position was eliminated. Plaintiff does not allege—and could not allege—that

Lehman was terminated for unacceptable performance. Rather, Plaintiff simply alleges that

Lehman's departure from the company was the result of a reduction in force. See id. at ¶ 4. This

allegation is fatal to Plaintiff's breach of contract claims.

        Under both Illinois and New York law, which govern the Employment Agreement and

Settlement Agreement, respectively, restrictive covenants are not enforceable where an employee

is discharged involuntarily or without cause. Bishop v. Lakeland Animal Hosp., P.C., 644

N.E.2d 33, 36 (Ill. Ct. App. 1994) (restrictive covenants unenforceable where employee is

terminated without cause); Martin v. Fed. Life Ins. Co., 644 N.E.2d 42, 44 (Ill. Ct. App. 1994)

(employee's termination was without cause where "Plaintiff was not accused of any wrongdoing,

poor performance or incompetence."); SIFICO Indus., Inc. v. Advanced Plating, Techs., 867

F. Supp. 155, 158 (S.D.N.Y. 1994) ("New York courts will not enforce [restrictive covenants] in

an employment agreement where the former employee was involuntarily terminated.");

Arakelian v. Omnicare, Inc., 735 F. Supp. 2d 22, 41 (S.D.N.Y. 2010) (same). Since Plaintiff

expressly alleges that Lehman was involuntarily terminated, and because Plaintiff has not


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alleged, and cannot allege, any performance deficiencies, the restrictive covenants in the

Employment Agreement and Settlement Agreement are unenforceable, and Plaintiff's breach of

contract claims based on those covenants should be dismissed. Id.

               3.     Plaintiff's Claims Under the Employment Agreement (Counts III-VI)
                      Should Be Dismissed, Because That Agreement Has Been Superseded.

       Counts III-VI of the Complaint are based on alleged breaches of Lehman's obligations

under the Employment Agreement. See Complaint [Dkt. # 1] at ¶¶ 252-305. The Employment

Agreement, by its terms, pertained to Lehman's employment generally, his supposed

confidentiality obligations, and various restrictions on Lehman's ability to solicit business or

otherwise compete with Plaintiff. See generally Employment Agreement [Dkt. # 1-1]. In 2014,

and in connection with the termination of Lehman's employment due to a reduction in force, the

parties entered into the Settlement Agreement, which, like the Employment Agreement,

addressed "[Lehman's] employment with and his termination from [Plaintiff.]" Settlement

Agreement [Dkt. # 1-4] at 1.

       The Settlement Agreement also addressed Lehman's purported confidentiality obligations

and attempted to establish restrictions on Lehman's ability to compete with Plaintiff or solicit

Plaintiff's employees and customers. Id. at ¶¶ 3, 7, 8. The Settlement Agreement further

provided that it represented the "settlement of all disputed issues between the parties." Id. at

¶ 12 (emphasis added). Finally, and importantly, the Settlement Agreement contained a broad

merger clause, stating:

               This Agreement constitutes a single, integrated, written contract
               expressing the entire understanding between the parties with
               respect to the subject matter hereof. … All prior discussions,
               agreements, understandings and negotiations have been and are
               merged and integrated into and are superseded by this Agreement.




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Id. at ¶ 20 (emphasis added). Both the Employment Agreement and the Settlement Agreement

address the same subject matter, namely Lehman's employment with Plaintiff and his obligations

arising out of that employment relationship. The Settlement Agreement expressly supersedes the

Employment Agreement, however. Id. Consequently, Plaintiff's claims based on the

Employment Agreement are invalid. See Friedman v. Ocean Dreams, LLC, 56 A.D.3d 719, 720

(N.Y. App. Div. 2008) ("Under the traditional rules of contract law, the courts will enforce a

clear and unambiguous merger clause.").

       F.      PLAINTIFF HAS FAILED TO STATE A CLAIM FOR BREACH OF FIDUCIARY DUTY
               (COUNT XII).

       Plaintiff alleged claim for breach of fiduciary duty also fails. While Plaintiff's precise

legal theory is once again less than clear, given the byzantine nature of the Complaint, Plaintiff's

claim is based at least in part on Lehman's alleged use of Plaintiff's purported trade secrets. See

Complaint [Dkt. #1] at ¶ 337.        To the extent Plaintiff's claim is based on the alleged

misappropriation of trade secrets, that claim is preempted by MUTSA.                   See M.C.L.

§ 445.1908(1) ("[T]his act displaces conflicting tort, restitutionary, and other law of this state

providing civil remedies for misappropriation of a trade secret."); Bliss Clearing Niagra, Inc. v.

Midwest Brake Bond Co., 270 F. Supp. 2d 943, 948-49 (W.D. Mich. 2003) (holding that all tort

claims arising out of alleged misappropriation of trade secrets and confidential information are

preempted by MUTSA).         As a result, to the extent it relies on allegedly misappropriated

information, Plaintiff's breach of fiduciary duty claim is invalid and must be dismissed. See id.

       Additionally, Plaintiff has failed even to allege the basic elements of a breach of fiduciary

claim. "To state a cause of action for breach of fiduciary duty, a Plaintiff must allege and

ultimately prove (1) a fiduciary duty on the part of the employee, (2) a breach of that duty, (3) an

injury, and (4) a proximate cause between the breach and the injury." Tradesmen Int'l, Inc. v.

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Black, No. 10-2098, 2011 WL 5330589, at *13 (C.D. Ill. Nov. 7, 2011); see also Ford Motor Co.

v. Toth, 872 F.2d 1025, (6th Cir. 1989) (noting that "Michigan courts have generally listed

damage as a necessary element of actions for … breach of fiduciary duty[.]"); Reliance

Mediaworks (USA), Inc. v. Giarmarco, Mullins & Horton, P.C., No. 11-14486, 2012 WL

5929940, at *9 (E.D. Mich. Nov. 27, 2012) ("A claim alleging breach of fiduciary duty sounds in

tort and damages is a necessary element.").20

       Even assuming that Lehman owed the fiduciary duties alleged in the Complaint,

Plaintiff's claim fails because it has not identified any cognizable damages arising out of the

alleged breach. Plaintiff's allegation that it has been somehow been damaged as a result of

Lehman's purported breach is entirely conclusory, simply claiming: "EMS has been damaged by

Lehman's breach of his fiduciary obligations to EMS." Complaint [Dkt. #1] at ¶ 339. Plaintiff

makes no effort to identify how it has been damaged, much less the alleged scope of those

unidentified damages. Plaintiff does not allege that it lost any revenue, customers, or employees

as a result of Lehman's alleged conduct during his time with Plaintiff. In fact, Plaintiff does not

even allege that Lehman began to compete with Plaintiff during his employment.21 In short,

       20
         The Employment Agreement, which governed the parties' employment relationship,
was governed by Illinois law. However, Plaintiff's breach of fiduciary duty claim sounds in tort.
The Court need not conduct a choice of law analysis, however, because both Illinois and
Michigan require damages as a component of a breach of fiduciary duty claim.
       21
          Plaintiff does not allege a single instance where Lehman solicited Plaintiff's customers,
made any sales, solicited any particular employee, or orchestrated a mass departure of
employees. In fact, Plaintiff could not make such allegations, because Plaintiff voluntarily
terminated the very employees it now claims were solicited. See Complaint [Dkt. #1] at ¶ 133.
Plaintiff claims that Lehman supposedly participated in exploratory meetings and began to
"make preparations to compete," but this is insufficient to establish a breach of fiduciary duty.
See id. at ¶ 337; see also Quality Mfg., Inc. v. Mann, No. 286491, 2009 WL 4827068, at *4
(Mich Ct. App. Dec. 15, 2009) (preparation to compete does not, in itself, violate any fiduciary
duty owed to employer); see also Tradesmen, 2011 WL 5330589, at *13 ("[A]n employee may
legitimately go so far as to form a rival corporation and outfit it for business while still employed
by prospective employer.").
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Plaintiff's allegation that it has supposedly been damaged is nothing more than a "naked

assertion" devoid of "further factual enhancement." Twombly, 550 U.S. at 555. Since Plaintiff

fails to make any factual allegations giving rise to a plausible claim that it has suffered any

damages, Plaintiff's breach of fiduciary duty claim must be dismissed.            See id; see also

Tradesmen, 2011 WL 5330589, at *14 (rejecting breach of fiduciary duty claim by former

employer arising out of alleged misappropriation of trade secrets and solicitation of business).

       G.      PLAINTIFF'S TORTIOUS INTERFERENCE CLAIM (COUNT XIII) FAILS, BECAUSE
               PLAINTIFF HAS FAILED TO ALLEGE A BREACH OF CONTRACT CAUSED BY
               LEHMAN.

       The last Count in Plaintiff's Complaint attempts to allege a claim for tortious interference

with contractual relations. See Complaint [Dkt. #1] at ¶¶ 341-346. "The elements of tortious

interference with a contract are (1) the existence of a contract, (2) a breach of a contract, and (3)

an unjustified instigation of the breach by the Defendant." Knight Enter. v. RPF Oil Co., 829

N.W.2d 345, 348 (Mich. Ct. App. 2013) (emphasis added). Once again, Plaintiff has failed to

allege even the basic elements of its claim; Plaintiff has failed to allege a breach of any contract

or that such breach was allegedly caused by Lehman or Thorium. See Complaint [Dkt. #1] at

¶¶ 341-346. Plaintiff's theory appears to be based on Lehman's alleged solicitation and purported

inducement of various employees to end their relationship with Plaintiff.22 Plaintiff does not

identify how such conduct, even if it occurred, would constitute a breach of any of those

employees' contractual obligations to Plaintiff. Moreover, even if Plaintiff's apparent theory

were viable, the Complaint specifically alleges that it was Plaintiff that ended the employment

relationship. See Complaint [Dkt. #1] at ¶ 133. Because Plaintiff voluntarily ended these


       22
         To the extent Plaintiff's theory is based on Lehman's alleged solicitation of "proprietary
information and trade secrets," from Plaintiff's employees, that claim is pre-empted by MUTSA.
See Complaint [Dkt. #1] at ¶¶ 342-43; see also Bliss, 270 F. Supp. 2d at 948-49.

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relationships, Plaintiff cannot establish, and in fact does not allege, a breach of these agreements

wrongfully caused by Lehman.

IV.       CONCLUSION

          For all of the foregoing reasons, Defendants respectfully request an order granting their

Motion to Dismiss the Complaint in its entirety.

                                               Respectfully submitted,
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